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                DECLARATION OF KATHARINE MARGARET GORDON

I, Katharine Margaret Gordon, make the following declaration based on my personal knowledge
and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is true
and correct:

1.   I am a practicing attorney licensed to practice in New York, I regularly practice before the
     Executive Office of Immigration Review. Since February 2020, I have been employed at
     Amica Center for Immigrant Rights (Amica Center). I am over the age of 18 and am
     competent to testify regarding the matters described below.

2.   I am a Senior Attorney with the Detained Adult Program (DAP) at Amica Center. Amica
     Center is a Washington, DC-based nonprofit organization dedicated to providing legal
     services to indigent immigrant men, women, and children who are detained by Immigration
     and Customs Enforcement (ICE) in Maryland, Pennsylvania, Virginia and other states. At
     Amica Center, a large part of my work consists of representing Maryland residents who have
     been detained by ICE or who are otherwise undergoing proceedings before the Executive
     Office of Immigration Review, at both the Immigration Court and Board of Immigration
     Appeals levels.

3.   In my position, I frequently represent non-citizens with final removal orders issued by an
     Immigration Judge (IJ) in removal proceedings under 8 U.S.C. § 1229a and non-citizens with
     reinstated removal orders issued by the Department of Homeland Security (DHS) pursuant to
     8 U.S.C. § 1231(a)(5).

4.   I currently represent a Venezuelan citizen with a final removal designating only Venezuela as
     the country of removal. No alternate country was designated. I will refer to him as Guillermo.
     Guillermo is a young Venezuelan man with several tattoos, and he fears removal to El
     Salvador, a country he has never set foot in. He fears that if he is removed to El Salvador, he
     will be imprisoned and tortured, and will have no way to contact his family, his attorney, or
     diplomatic representatives of Venezuela.

5.   Guillermo entered the United States in July 2022 by crossing the Rio Grande River from
     Mexico to the United States and he immediately turned himself in to U.S. Customs and Border
     Patrol (CBP). After being held for a few days, he was paroled into the United States pursuant
     to 8 U.S.C. § 1182 (d)(3). At that time, he was not issued a Notice to Appear (NTA).

6.   He traveled from Texas to Virginia, and in approximately September 2022, checked in with
     ICE and provided ICE with a valid Virginia mailing address.

7.   In March 2023, ICE filed an NTA, placing him in proceedings under 8 U.S.C. § 1229a
     (Section 240 proceedings) with the Annandale Immigration Court, and ICE indicated that it
     mailed a copy of his NTA to his Virginia mailing address. Guillermo has no recollection of
     receiving this NTA or a subsequent hearing notice sent to this address.




                                                                                       EXHIBIT L
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8.   On November 14, 2023, Guillermo was ordered removed in absentia. He did not become
     aware of this removal order until approximately 2025.

9.   On March 4, 2025, in the U.S. District Court for the Western District of Texas, a criminal
     complaint was filed against Guillermo under 8 U.S.C. § 1325(a)(1), charging him with a
     misdemeanor count of improper entry into the United States based on his July 2022 entry.

10. A warrant was issued for his arrest, and, on March 10, 2025, CBP agents arrested him at his
    current home in College Park, Maryland. On March 12, 2025, he was brought before a
    Magistrate Judge at the US District Court for Maryland and ordered to be sent to the Western
    District of Texas to face the 8 U.S.C. § 1325(a)(1) criminal charge. From March 12 until
    approximately April 1, 2025, he was held at the Chesapeake Detention Facility in Baltimore,
    Maryland under the custody of the US Marshals Service.

11. On March 18, 2025, I was retained by Guillermo to represent him in his immigration matter,
    specifically to seek to reopen his case before the Immigration Court. Upon speaking with him,
    he indicated that he was afraid of removal to El Salvador and being confined at the CECOT
    (Centro de Confinamiento de Terrorismo) prison. He was afraid of this because of the news
    of Venezuelans with tattoos being sent to this prison several days before.

12. On March 25, 2025, I filed online a Motion to Rescind in Absentia Removal Order and Reopen
    Proceedings with the Annandale Immigration Court on several grounds including:

           a. Rescission of the in absentia order due to lack of notice and reopening of
              proceedings;

           b. Reopening proceedings due to changed country conditions in Venezuela after the
              2024 presidential elections;

           c. Reopening proceedings due to changed country conditions as a Venezuelan with
              fear of removal to El Salvador based on the removals of Venezuelans to El Salvador
              beginning on or about March 15, 2025; especially in light of D.V.D. v. DHS, Case
              No. 25-cv-10676 (D. Mass March 23, 2025) (case filed against DHS challenging
              the policy of third country removal without providing notice or opportunity to
              contest removal).

           d. Sua sponte reopening to protect due process rights, especially considering ongoing
              federal litigation.

13. Along with my 18-page motion, I included a new I-589 Application for Asylum, Withholding
    of Removal and Protection under the Convention Against Torture articulating fear of removal
    to both Venezuela and El Salvador, and 207 pages of supplemental evidence.

14. On March 26, 2025, I received an order denying the Motion to Rescind In Absentia Removal
    Order and Reopen Proceedings. The order indicated that the IJ had denied the motion on
    March 25.
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15. This March 25 order only made reference to the request for rescission of the removal order,
    and did not make any reference to the other three grounds for reopening proceedings.

16. On March 26, 2025, I emailed the immigration court clerk to request clarification as to
    whether I should expect a ruling on the other grounds for reopening which I had presented in
    the motion. The clerk indicated a further decision would be forthcoming.

17. On March 28, 2025, the IJ issued another order, denying on all grounds. In regard to the
    grounds based on a new fear of removal to El Salvador, which I have attached to this
    declaration, the IJ provided the following reasoning, provided here in its entirety:

               First, country conditions in El Salvador are not relevant to Respondent's
               case. Respondent was ordered removed by this court to his country of
               origin, Venezuela - not El Salvador.

               Second, Respondent's fear of removal to El Salvador as a 'Venezuelan
               national with Tattoos' is tentative and speculative, at best. Respondent has
               been ordered removed to Venezuela by this Court, not El Salvador. If the
               United States government were to remove Respondent to El Salvador under
               a separate authority, that is outside the jurisdiction of this Court to
               adjudicate and/or analyze. Respondent's relief would be sought in Federal
               court, not Immigration Court, when and if that issue became ripe for review.

18. I have informed my client of this decision and, specifically, that the IJ found that she did not
    have jurisdiction to consider his claim of persecution and torture in El Salvador. However,
    my client continues to express fear of persecution and torture in El Salvador.

19. On April 2, 2025, I notified the Chief Counsel of the Washington Field Office of the Office
    of the Principal Legal Advisor that my client is afraid of persecution and torture if removed
    to El Salvador, and that the Temporary Restraining Order issued in D.V.D. v. DHS, Case No.
    25-cv-10676-BEM (D. Mass March 28, 2025) is applicable to my client.

I declare under penalty of perjury that the above information is true and correct to the best of my
knowledge.

Executed this 7th day of April 2025 at Takoma Park, Maryland



                                                             ____________________
                                                             Katharine Margaret Gordon
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                           UNITED STATES DEPARTMENT OF JUSTICE
                         EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                              ANNANDALE IMMIGRATION COURT

Respondent Name:                                      A-Number:

                                                      Riders:
To:
                                                      In Removal Proceedings
      Gordon, Katharine Margaret                      Initiated by the Department of Homeland Security
      1025 Connecticut Avenue NW                      Date:
      Suite 701                                       03/28/2025
      Washington, DC 20036



                        ORDER OF THE IMMIGRATION JUDGE


               Respondent     the Department of Homeland Security has filed a motion to reopen these
      proceedings. Upon reading and considering the motion, and any opposition from the non-moving party,
      the motion is    granted     denied for the following reason(s):

               The motion is untimely and fails to meet any exceptions. See 8 C.F.R. § 1003.23(b)(1),(4).
               The motion is numerically barred and fails to meet any exceptions. See 8 C.F.R. §
               1003.23(b)(1),(4).
               The moving party failed to provide evidence demonstrating changed circumstances that is
               material and that was unavailable or could not have been discovered or presented at the
               previous proceedings. See 8 C.F.R. § 1003.23(b)(4)(i).
               The moving party failed to submit the appropriate application for relief and any
               accompanying documents. See 8 C.F.R. § 1003.23(b)(3).
               The Respondent has been removed or otherwise departed from the United States. See 8
               C.F.R. § 1003.23(b)(1).
               Other:
          Respondent has provided two additional bases to reopen his case in addition to notice failure
          of the scheduling order resulting in the in absentia order; They are: 1) change in country
          conditions in Venezuela and/or El Salvador and 2) fear of removal to El Salvador.

               First, country conditions in El Salvador are not relevant to Respondent's case.
          Respondent was ordered removed by this court to his country of origin, Venezuela - not El
          Salvador.

               Second, Respondent's fear of removal to El Salvador as a 'Venezuelan national with
          Tattoos' is tentative and speculative, at best. Respondent has been ordered removed to
          Venezuela by this Court, not El Salvador. If the United States government were to remove
          Respondent to El Salvador under a separate authority, that is outside the jurisdiction of this
          Court to adjudicate and / or analyze. Respondent's relief would be sought in Federal court, not
          Immigration Court, when and if that issue became ripe for review.

               Lastly, Respondent left Venezuela in      .
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    Respondent left his country and remains in power. Respondent has not met his burden to
    demonstrated that conditions have materially or substantively changed such that his case should
    be reopened based on new or changed conditions.




                                            Immigration Judge: Campanella, Lorianne 03/28/2025



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Respondent Name :                                              | A-Number :
Riders:
Date: 03/28/2025 By:                    , Court Staff
